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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:13CR3115-2
                                        )
            v.                          )
                                        )
JUSTIN LEE ORSTAD,                      )      MEMORANDUM AND ORDER
                                        )
                   Defendant.           )
                                        )


      The defendant has not shown a fair and just reason for withdrawing his guilty
plea under Federal Rule of Criminal Procedure 11(d)(2)(B).1 Therefore,

      IT IS ORDERED that the defendant’s Motion to Withdraw Guilty Plea (filing
no. 162) is denied.

      DATED this 14th day of July, 2014.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge




      1
      I have not yet accepted the plea agreement. That may or may not provide the
defendant with an avenue for relief regarding his desire to attack the gun
enhancement.
